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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

 Marcelin Liberal et al,

          Plaintiff(s),
                                                                                       CASE NO: 0:22-CV-60450-RS
 v.

 Healthcare Revenue Recovery Group,
 LLC,

          Defendant(s),
                                     /
                                    NOTICE OF MEDIATION CONFERENCE

          NOTICE IS HEREBY GIVEN that a mediation conference in the above styled cause will take place at
 the time, date and place below:
          DATE:             March 9, 2023
          TIME:             10:00 am
          PLACE:            Our Broward Office: 101 N.E. Third Avenue, Suite 1500, Ft. Lauderdale, FL 33301
          MEDIATOR:         Christopher E. Benjamin, Esq.
 The client or a representative of the client with full authority to settle, other than counsel should be present. If
 insurance is involved, a representative of the insurance company must be present with full settlement authority for
 up to the policy limits or the plaintiff's last demand, whichever is less. Pursuant to Rule 1.720(e), unless otherwise
 stipulated by the parties, each party, 10 days prior to appearing at a mediation conference, shall file with the court
 and serve all parties a written notice identifying the person or persons who will be attending the mediation
 conference as a party representative or as an insurance carrier representative, and confirming that those persons have
 the required authority.
 A total of 4 hours has been set aside for this mediation. If more time is anticipated, please notify the
 mediator's office immediately. A cancellation fee will be charged, as set forth in the attached Mediation
 Engagement Agreement, if the mediation is canceled less than 72 hours prior to the scheduled conference date.
 Do not assume that the other side has notified us of a change or cancellation. Please call or e-mail our office.
 All parties acknowledge that the mediation conference, as well as all pre-mediation and post-mediation
 communications, constitute privileged and confidential communication between those present at the mediation
 conference as set forth in Chapter 44, Florida Statutes. All parties further acknowledge that the mediator is a neutral
 and may not act as an advocate for any party.
 In accordance with the Americans with Disabilities Act of 1990, all persons who are disabled and who need special
 accommodations to participate in this proceeding because of that disability should contact our not later than twenty-
 one (21) business days prior to the mediation conference.

                                                                 Respectfully Submitted:

                                                                 s/ John W. Salmon, Esq
                                                                 Florida Bar No: 271756
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                                                                 sd-adr.com
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 Copies furnished to: All Counsel of Record
